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                                Case: 1:22−cv−01001 JURY DEMAND
                                Assigned To : Kollar−Kotelly, Colleen
                                Assign. Date : 3/31/2022
                                Description: Pro Se Gen. Civ. (F−DECK)
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